                 Case 1:17-cv-04382-RJS Document 7 Filed 08/07/17 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
UNITEDHEALTHCARE INSURANCE                                          Civil Action No.: 1:17-cv-04382 (RJS)
COMPANY,
                                      Plaintiff,

                  -against-                                         NOTICE OF DISMISSAL

PERMANENT MISSION OF NIGERIA
TO THE UNITED NATIONS,

                                      Defendant.
----------------------------------------------------------X
          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff UnitedHealthcare

Insurance Company and its undersigned counsel hereby give notice that the above-captioned action is

voluntarily dismissed with prejudice against the defendant Permanent Mission of Nigeria to the United Nations.

The parties shall bear their own costs associated with this action.

Dated: August 7, 2017
       New York, New York

                                                              Respectfully submitted,

                                                              /s/Michael H. Bernstein
                                                              Michael H. Bernstein (MB 0579)
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                                                              UnitedHealthcare Insurance Company

To:      Permanent Mission of Nigeria to the United Nations
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